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												Supreme Court of Georgia244 Washington Street,&nbsp;Suite&nbsp;572
Atlanta, Georgia 30334
Phone: (404) 656-3470
FAX: (404) 656-2253
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Current Month august, 2017
			
				
				
				
				
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			Oral Arguments
									
										Supreme Court of Georgia
										
											40 Capitol Square, Atlanta GA 30334
										
				28aug2:00 pm4:30 pmOral Arguments
							Event DetailsMonday, August 28, 2017
2:00 PM
S16G1786 McConnell et al. v. Georgia Department of Labor
S17G0199 The State v. Harper
S17A1354 Norwood v. The State
S17A1041 Arnold v. The State
S17A1406 Walker v. The State


							
							
									Event Details
									Monday, August 28, 2017
2:00 PM
S16G1786 McConnell et al. v. Georgia Department of Labor
S17G0199 The State v. Harper
S17A1354 Norwood v. The State
S17A1041 Arnold v. The State
S17A1406 Walker v. The State


								
							
						
						
							
							
								
									
																
										Time(Monday) 2:00 pm - 4:30 pm
									
								
							
								
									
																
										LocationSupreme Court of Georgia40 Capitol Square, Atlanta GA 30334
									
								
							
							
												
							
							
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																Recent News &amp; Reports		
					
				8/23/17 – CHIEF JUDGE CHRISTOPHER C. EDWARDS TO HEAR SUPREME COURT CASE
						
					
				8/23/17 – JUDGE SMITH TO HEAR GEORGIA SUPREME COURT CASE
						
				
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